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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

  In re:
  JOHN R DALFERRO,                                 Ch. 13
    Debtor                                         19-13581-CJP


                                               ORDER

Upon consideration of the Motion of the Chapter 13 Trustee to Dismiss Case in which the Chapter
13 Trustee represents, inter alia, that the Debtor is in arrears under his Chapter 13 Plan, and the
response filed by the Debtor, the Court may dismiss this case without further notice on or after
DECEMBER 14, 2021 (the "Dismissal Deadline") unless prior to that date, the Debtor files an
affidavit that he : (a) has cured all plan arrears that are the subject of the Chapter 13 Trustee's
Motion to Dismiss; (b) are current on all payments which became due subsequent to the motion
being filed, and (c) indicates the source of the funds used to cure the arrears. The forgoing affidavit
must be supported by evidence demonstrating payment to the Chapter 13 Trustee. Alternatively,
by the Dismissal Deadline, the Debtor may instead file a joint stipulation or agreed order with the
Chapter 13 Trustee providing for an agreed-upon schedule for payment of the arrearage.

Within ten (10) days of the filing of an affidavit by the Debtor, the Chapter 13 Trustee shall file
either a Notice of Withdrawal with respect to the Motion to Dismiss or a Certificate of
Non-Compliance stating that the Debtor failed to cure all plan arrears.

Dated: 11/12/2021                                  By the Court,




                                                   Christopher J. Panos
                                                   United States Bankruptcy Judge
